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                                 #:325492




              EXHIBIT 8
            Case 2:04-cv-09049-DOC-RNB Document 10684-8 Filed 07/11/11 Page 2 of 4 Page ID
                                             #:325493

                                                                      Your Service Center                                   INVOICE
                                                                                                                       Invoice #:           87752
                                                                                                                       Invoice Date       4/30/2011
                                                                                                                       Terms                Net 30
  Tax ID # XX-XXXXXXX                                                                                                  Due Date           5/30/2011
                                                                                                                       Amt Due           $115339.25
  Your complete satisfaction is very important to us. If you have any questions or concerns with your order, please contact either your
  Sales Consultant or Project Manager at your earliest convenience so that we may resolve the matter quickly.


  Bill To                                                                               Ship To
  Jeanine Pisoni, Esq.                                                                  Ms. Rosa Colorado
  MGA Entertainment                                                                     MGA Entertainment
  16360 Roscoe Blvd                                                                     16360 Roscoe Blvd.
  Suite 105                                                                             Suite 105
  Van Nuys CA 91406                                                                     Van Nuys CA 91406


           Requested By                            Client Matter#                       Client Case Name           Shipped                  Ship Via
          Jeanine Pisoni Esq                       MGA v Mattel                            MGA v. Mattel           5/31/2011                 Local
         Sales Consultant                             Project Manager                                  Tracking Numbers
         House Account (LA)                           Rastello, Kenneth

  Product or Service                                     Detailed Description          Qty Billed Price          Units Amount              Tax Code
  Recurring Monthly Fees --Relativity Logins -- April    James Rosen (Added                       3       99.00 Item             297.00 -Not Taxable-
                                                         04/07/2011)
                                                         Ryan Saba (Added
                                                         04/07/2011)
                                                         William Gwire (Added
                                                         04/07/2011)
                                                                                                                                         -Not Taxable-
  Recurring Monthly Fees --Relativity Logins -- May                                           126         99.00 Item           12,474.00 -Not Taxable-
                                                                                                                                         -Not Taxable-
  Recurring Monthly Fees--Relativity Database Hosting    Database Name:                   6604.175        15.00 GB             99,062.63 -Not Taxable-
  -- May                                                 Documents Produced
                                                         (MGA Mattel 3rd Party) /
                                                         MGA Documents Collected
                                                                                                                                          -Not Taxable-
  Recurring Monthly Fees--Relativity Database Hosting                                       1.4777           7.50 GB                11.08 -Not Taxable-
  -- April - Partial Month Hosting (50%)
                                                                                                                                         -Not Taxable-
  Data Loading into Relativity Database                                                    14.6846      125.00 hr               1,835.58 -Not Taxable-
                                                                                                                                         -Not Taxable-
  Data Loading -- Relativity Non-Volume Data Overlay     WO#:                                  .75      125.00 hr                  93.75 -Not Taxable-
                                                         CO00426-CA0008-P001-W
                                                         00770
                                                           Date: 4/1/2011; Invoice
                                                         Description: overlay
                                                         existing exhibits
                                                          WO#:
                                                         CO00426-CA0008-P001-W
                                                         00776
                                                           Date: 4/2/2011; Invoice
                                                         Description: update
                                                         existing exhibits
                                                          WO#:
                                                         CO00426-CA0008-P001-W
                                                         00781
                                                           Date: 4/5/2011; Invoice
                                                         Description: overlay the
                                                         existing exhibits: ImageKey
                                                         Phase 2 Trial_Ex_Num
                                                         ProdIK01037766 24830
                                                         ProdIK01037767 24831
                                                         WO#:
                                                         CO00426-CA0008-P001-W
                                                         00787
                                                           Date: 4/7/2011; Invoice
                                                         Description: update New
                                                         Bates Start/New Bates End

                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00788
                                                     Date: 4/8/2011; Invoice
  Received by: _______________________________________   Date: _____________
                                                   Description: update
                                                   existing exhibits
  Print Name: _______________________________________ Time: _____________              Invoice# 87752 from Encore Legal Solutions          -Not Taxable-
                                                                                                                                             Page  1 of 3


CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 8 - Page 519
           Case 2:04-cv-09049-DOC-RNB Document 10684-8 Filed 07/11/11 Page 3 of 4 Page ID
                                            #:325494
  Product or Service                               Detailed Description          Qty Billed Price         Units Amount               Tax Code
  Data Loading--Relativity - Data Overlay          Date: 4/9/2011; Batch                  .5      125.00 hr                   62.50 -Not Taxable-
                                                   Name:
                                                   MATTEX057_PH11098232
                                                   152; WO#:
                                                   CO00426-CA0008-P001-W
                                                   00790; Invoice Description:
                                                   update existing exhibit
                                                                                                                                    -Not Taxable-
  Hosted Database Maintenance--Relativity - User   CO00426-CA0008-P001-W                  .5      125.00 hr                   62.50 -Not Taxable-
  Security Modification                            00772; 4/1/2011
                                                                                                                                 -Not Taxable-
  Hosted Database Setup --Relativity User Setup    WO#:                                   3       100.00 Item             300.00 -Not Taxable-
                                                   CO00426-CA0008-P001-W
                                                   00783
                                                     Date: 4/7/2011; User
                                                   Name: James Rosen;
                                                     Date: 4/7/2011; User
                                                   Name: Ryan Saba;
                                                     Date: 4/7/2011; User
                                                   Name: William Gwire;
                                                                                                                                 -Not Taxable-
  OCR - Optical Character Recognition              CO00426-CA0008-P001-W               4862         0.03 Pg.              145.86 -Not Taxable-
                                                   00733
                                                   CO00426-CA0008-P001-W
                                                   00744
                                                   CO00426-CA0008-P001-W
                                                   00761
                                                   CO00426-CA0008-P001-W
                                                   00770
                                                   CO00426-CA0008-P001-W
                                                   00771
                                                   CO00426-CA0008-P001-W
                                                   00773
                                                   CO00426-CA0008-P001-W
                                                   00775
                                                   CO00426-CA0008-P001-W
                                                   00778
                                                   CO00426-CA0008-P001-W
                                                   00782
                                                   CO00426-CA0008-P001-W
                                                   00784
                                                   CO00426-CA0008-P001-W
                                                   00788
                                                                                                                                    -Not Taxable-
  Tiff Conversion--PDF to TIFF (Images Only)       WO#:                                  17         0.035 Pg.                  0.60 -Not Taxable-
                                                   CO00426-CA0008-P001-W
                                                   00775
                                                                                                                                 -Not Taxable-
  Non-Hosted Database Creation Custom              WO#:                                 5.25      125.00 hr               656.25 -Not Taxable-
                                                   CO00426-CA0008-P001-W
                                                   00770
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00771
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00773
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00775
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00776
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00777
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00778
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00780
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00781
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00782
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00784
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00785
                                                    WO#:
                                                   CO00426-CA0008-P001-W
                                                   00786
                                                    WO#:
  Received by: _______________________________________ Date: _____________
                                                   CO00426-CA0008-P001-W
                                                   00788
  Print Name: _______________________________________  Time: _____________
                                                    WO#:                         Invoice# 87752 from Encore Legal Solutions            Page 2 of 3


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          Case 2:04-cv-09049-DOC-RNB Document 10684-8 Filed 07/11/11 Page 4 of 4 Page ID
                                           #:325495
 Product or Service                              Detailed Description          Qty Billed Price          Units Amount               Tax Code
                                                 CO00426-CA0008-P001-W
                                                 00789
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00790
                                                                                                                                    -Not Taxable-
 Non-Hosted Database Creation Renumbering        WO#:                                 1.45      125.00   hr             181.25      -Not Taxable-
                                                 CO00426-CA0008-P001-W
                                                 00770
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00771
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00773
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00775
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00776
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00777
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00778
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00780
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00781
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00782
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00784
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00785
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00787
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00788
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00789
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00790
                                                                                                                                    -Not Taxable-
 Custom Requests--Custom Reports                 Date: 4/4/2011; Report                .25      125.00   hr                 31.25   -Not Taxable-
                                                 Name:
                                                 Folders_NotAccessibleToLo
                                                 gin; WO#:
                                                 CO00426-CA0008-P001-W
                                                 00779; Invoice Description:
                                                 Damien Martinez Can’t
                                                 Access Folders
                                                                                                                                    -Not Taxable-
 Custom Requests--Custom Reports                 Date: 4/25/2011; Report                1       125.00   hr             125.00      -Not Taxable-
                                                 Name: List of active users;
                                                 WO#:
                                                 CO00426-CA0008-P001-W
                                                 00791; Invoice Description:
                                                 List of Active Relativity
                                                 Users
                                                                                                                                    -Not Taxable-




 PLEASE REMIT PAYMENT TO:                      Customer Service:
   Encore Discovery Solutions                      (888) 389-1658                                         Subtotal                   115,339.25
   Dept 2651                                                                                      Shipping (Local)                         0.00
   PO Box 122651                                                                                      Invoice Total                  115,339.25
   Dallas, TX 75312-2651                                                                          AMOUNT DUE                        $115,339.25
 Received by: _______________________________________ Date: _____________
 Print Name: _______________________________________ Time: _____________       Invoice# 87752 from Encore Legal Solutions             Page 3 of 3
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